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               IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION

  ROBERT BEST, an individual,
  on behalf of himself and others
  similarly situated,

          Plaintiff,

  v.                                            Case No.: 3:22-CV-246-
                                                BJD-MCR

  DPS EAST COAST, LLC and
  DANIAL A. McHENRY

       Defendants.
  ___________________________________/

       NOTICE OF FILING PLAINTIFF’S VERIFIED ANSWERS TO
                  COURT’S INTERROGATORIES

        Pursuant to the Court’s FLSA Case Management and Scheduling

  Order [Doc. 8], Robert Best files the attached answer to Court’s

  Interrogatories.

                                    Respectfully submitted:

                                    /s/ Jeremiah J. Talbott
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                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing

   Motion was furnished via CM/ECF to all counsel or parties of record on the

   Service List below on this 12th day of August, 2022.

                                         /s/ Jeremiah J. Talbott
                                        JEREMIAH J. TALBOTT, ESQ.

                                SERVICE LIST

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